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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE

 VICTOR BODDIE                       ]
                                     ]
       PLAINTIFF                     ]
                                     ]
 V.                                  ]     CASE NO: 2:19-02423
                                     ]
 THE CHEMOURS COMPANY,               ]
 A/K/A THE CHEMOURS COMPANY ]
 FC, LLC, a Delaware Corporation     ]
                                     ]
       DEFENDANTS                    ]
 ______________________________________________________________________________

               DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS
                      MOTION FOR SUMMARY JUDGMENT
 ______________________________________________________________________________

        Defendant Chemours Company (“Defendant” or “Chemours”), by and through counsel,

 respectfully submits this Memorandum in Support of its Motion for Summary Judgment.

                                        INTRODUCTION

        This is an action for discrimination based on race and age, and for retaliation for filing a

 grievance, pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000 (e), and the Age

 Discrimination in Employment Act (“ADEA”), 42 U.S.C. §1 2117. Complaint, DE # 1.

 Specifically, Plaintiff, a former employee at Defendant’s plant in Memphis, Tennessee, asserts that

 Defendant discriminated against him in the terms and conditions of his employment based on his

 race (African American); age (60 years old); and in retaliation for filing multiple grievances over

 an issue with the company Fatigue Management Policy (“FMP”). Id. Plaintiff was terminated on

 February 4, 2019. Id.

        Plaintiff’s employment with Defendant was terminated for cause, as a result of his repeated

 failure to follow safety rules at a chemical plant and substandard performance in general. Plaintiff
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 cannot make a prima facie case for discrimination or retaliation and cannot establish that the

 legitimate reasons Chemours has provided for his termination were pretext.

         Finally, Plaintiff cannot prove any elements necessary to recover punitive damages.

         His claims should be dismissed as a matter of law.

                                         STATEMENT OF FACTS

 I.      Mr. Boddie’s Repeated Failure to Follow Workplace Safety Policies

                  A. The Fatigue Risk Management Policy Incidents

         On or about April 30, 2018, Mr. Boddie reported to work on his 15th consecutive workday

 in violation of the FMP. 1 Grievance 2018-08, CHEMOURS/BODDIE 172, attached as Collective

 Ex. A. His supervisor sent him home and changed his time card to a day without pay. Id. Mr.

 Boddie filed a grievance over this issue. Id. This grievance went all the way to the 3rd Step.

 CHEMOURS/BODDIE 171, attached as Collective Ex. A.

         Mr. Boddie wanted to be paid for those days but did not want to use his vacation days.

 Boddie Dep. pp. 44-47, attached as Ex. B. He refused to change his time card himself, and his

 supervisor changed it to an excused day without pay. Id. Mr. Boddie thought it should be changed

 to a disability day, despite the policy clearly stating that disability days counted as “work days”

 under the FMP. Fatigue Management Policy p. 15, attached as Ex. C. Management explained to

 Mr. Boddie that his timecard was changed from a sick day to an unpaid day because of the FMP.

 CHEMOURS/BODDIE 171, attached as Collective Ex. A. This Third Step Grievance Meeting

 was held on June 20, 2018. Id.




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            This was a not the first time Mr. Boddie was reprimanded for failing to follow the FMP. Mr. Boddie had
 previously been given an informal contact for violating the same policy on October 15, 2015.
 CHEMOURS/BODDIE 167.


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        On July 2, 2018, Mr. Boddie again attempted to change his time to “disability” while on a

 required rest day under the FMP. CHEMOURS/BODDIE 182, attached as Collective Ex. A.

        On July 23, 2018, Mr. Boddie committed the exact same violation of the FMP and reported

 to work on his 15th consecutive workday. Grievance 2018-11, CHEMOURS/BODDIE 170,

 attached as Collective Ex. A. He was given an informal contact for once again refusing to follow

 the FMP, which is an important safety rule for the workplace. Id.

        Mr. Boddie again filed a grievance over this issue. Id. Mr. Boddie was aware that he was

 on his 15th day of work and was aware of the FMP as he had just been coached about it during the

 recent grievance. CHEMOURS/BODDIE 168, attached as Collective Ex. A. Mr. Boddie again

 refused to record his time correctly as either a vacation day or a day without pay, forcing his

 supervisor to again fix his time card to reflect that he was not working that day and therefore not

 violating the FMP. CHEMOURS/BODDIE 169, attached as Collective Ex. A.

        On or about July 31, 2018, Mr. Boddie filed another grievance against his supervisor for

 changing his time card to a day without pay. Grievance 2018-13, CHEMOURS/BODDIE 169,

 attached as Collective Ex. A. On or about August 2, 2018, Mr. Boddie was given a formal contact

 for failing to follow the FMP and failing to accurately update and track his time while at work.

 CHEMOURS/BODDIE 185, 164, 182-183, attached as Collective Ex. A.

        On August 16, 2018, Mr. Boddie filed another grievance alleging “continued reprisal,

 retaliation, and harassment surrounding but not limited to Fatigue Management.” Grievance 2018-

 15, CHEMOURS/BODDIE 166, attached as Collective Ex. A. All three of the grievances related

 to Mr. Boddie’s violation of the FMP on July 23, 2018 and his failure to accurately record his time

 on that day were addressed in the third step grievance meeting held on September 5, 2018.

 CHEMOURS/BODDIE 164, attached as Collective Ex. A. At this meeting, Management refused




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 to remove the Informal Contact or Formal Contact from his record but did give him two days off

 with pay. Id.

        Mr. Boddie was placed on probation for a year from the date that he received the Formal

 Contact, or until August 5, 2019. CHEMOURS/BODDIE 182-183, attached as Collective Ex. A.

 While on probation, “employee must demonstrate immediate and sustained satisfactory

 performance in all aspects of his role” and failure to comply with the job expectations “will result

 in further disciplinary action, up to and including discharge”. Id. “Repeated failure to follow

 directions… would be considered a major misconduct” and discipline steps could be skipped if

 necessary. Fullingim Dep. p. 42, attached as Ex. D.

                 B. The February 1, 2019 Incident

        In his deposition, Mr. Boddie alleged that while at work on Friday, February 1, 2019, he

 got some unknown liquid and residue from a gasket on his clothing while removing a gasket and

 needed to take a shower during his scheduled workday. Boddie Dep. pp. 109-110, attached as Ex.

 B. After they finished the job, Mr. Boddie told his co-worker Mr. Whiteside that he couldn’t keep

 his uniform on because it was wet and it was cold. Id. p. 110. Mr. Boddie went into the change

 house, where all his clothes and uniforms were, to take a shower. Id. While he was in the shower,

 Mr. Fullingim came looking for him to discuss an overtime opportunity and told him he was not

 supposed to be taking a shower or leaving his work area during his scheduled work time. Id. pp.

 110-112.

        If Mr. Boddie opened the vessel and was sprayed with unknown liquid and some residue

 while changing the gasket, “a major safety process would have failed” and he should have notified

 management immediately. Fullingim Dep. p. 40, attached as Ex. D; Hernandez Dep. p. 52,

 attached as Ex. E. “Any incident or injury, exposure is supposed to be immediately reported to




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 supervision.” Hernandez Dep. p. 52, attached as Ex. E. Failure to do so can result in immediate

 termination. Id p. 53.

        The change room where Mr. Boddie was found by Mr. Fullingim was at least 200 or 300

 feet away from the process area where he would have been exposed to some fluid. Id. p. 55. If he

 went to the change room showers with a chemical on him, he could have spread contamination

 throughout the plant and exposed others to harm while in route. Id.

        Company procedure for exposure to any kind of chemical requires the exposed employee

 use the safety showers that were significantly closer than the change house to get decontaminated.

 Id. “If you get something on you, you’re supposed to get under a safety shower and decon.”

 Fullingim Dep. p. 33; Diemer Dep. pp. 19-20, attached as Ex. F. Even Mr. Boddie himself admits

 that “[i]f you get any kind of chemical on you, they’ve got safety showers out there, and you’ve

 got to get under them.” Boddie Dep. at 110.

        All maintenance employees are given the last 10 minutes of their shift to take a shower if

 needed and change out of their work clothes. Diemer Dep. p. 20. Further, Mr. Boddie failed to

 check with his supervisor before leaving his work area early. Boddie Dep. pp. 110-111. All

 employees are supposed to check in with their supervisor before they leave… their work area, so

 we know where everyone’s at.” Diemer Dep. p. 21.

        Mr. Boddie was in the change room and shower 20-25 minutes earlier than permitted, and

 other employees indicated that Mr. Boddie routinely leaves his work area early for that purpose.

 Fullingim Dep. pp. 33-34.

        At no time on February 1, 2019 or during the weeks following his termination while his

 grievance was being investigated, did Mr. Boddie tell his supervisor Mr. Fullingim, Ms. Diemer,

 Mr. Hernandez, or anyone in the union that he was in the shower because he had been splashed

 with an unknown liquid. Hernandez Dep. p. 22; Fullingim Dep. pp. 33-34; Diemer Dep. p. 20.


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        C. Mr. Boddie’s Termination

        The HR Manager Shelia Diemer provided Plant Manager Mario Hernandez with Mr.

 Boddie’s discipline history, performance history, and background information on the latest issue

 that ultimately led to the termination of his employment. Diemer Dep. p. 14. Mr. Boddie’s

 employment was terminated because he left his assigned work area earlier than permitted, which

 was a failure to follow company protocols, while he was already on probation. Hernandez Dep.

 p. 10, Diemer Dep. pp. 17-18; Fullingim Dep. p. 17. As a long time employee, he knew that if he

 needed to leave his work area earlier, he needed to notify supervision, and he did not. Hernandez

 Dep. p. 49.

         In deciding whether to uphold this termination decision in the grievance process, Mr.

 Hernandez considered highly the recommendations of Ms. Diemer and Mr. Fullingim, and also

 interviewed other employees at the plant at the request of the Union and Mr. Boddie. Hernandez

 Dep. p. 20; CHEMOURS/BODDIE 175, attached as Collective Ex. G. During the 3rd step

 termination meeting, Mr. Boddie asked Mr. Hernandez to talk to the people he worked with to

 confirm that he was a good performer, and Mr. Hernandez did so. Diemer Dep. p. 53. Mr.

 Hernandez talked to 12 employees, including supervisors and managers, and “did not receive any

 positive feedback.” Id. p. 54; CHEMOURS/BODDIE 175, attached as Collective Ex. G.

        “All the indications gathered during the third step investigation… didn’t show Mr. Victor

 having the willingness nor the cooperation to work with management to change his performance

 and stay employed with the Memphis site.” Hernandez Dep. p. 26. Chemours not only wants its

 employees to be good mechanics but also follow company values on safety and ethics. Id. pp. 27-

 28.

        No one replaced Mr. Boddie after his employment was terminated. Diemer Dep. p. 60.




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 II.     Chemours’ Policy and Procedure Manual

         According to the Plant’s Policy & Procedure Manual, to remain employed at the Memphis

 Plaint, all employees must: be at work for regular and assigned work shifts and maintain acceptable

 attendance performance; know and observe area and plant safety rules; perform assigned work at

 an acceptable standard; and refrain from committing a major misconduct offense. Manual

 Subsection 1.1.A, attached as Collective Ex. H.

         Shift workers may leave their work area up to ten (10) minutes before the end of their shift,

 provided an employee on the incoming shift has relieved them. Manual Subsection 1.1.B, attached

 as Collective Ex. H. Shift workers must stay on the plant until relieved or instructed by supervision

 to leave. Id. Maintenance mechanics like Mr. Boddie are granted ten (10) minutes of “shower”

 time at the completion of their regular shift because they engage daily in tasks that expose them to

 regular contact with dirt, oil, great, etc., to a greater degree than other people on the site. Id.

 Mechanics are allowed to leave their assigned work station ten (10) minutes prior to the completion

 of their assigned shift. Id.

         Employees should normally not be required to work more than sixteen (16) continuous

 hours, or hours in excess of the limits defined by the Fatigue Management Program. Id.

         “An employee who continues to be unwilling or unable to perform in accordance with plant

 standards will be discharged from employment.” Manual Section 2.2, attached as Collective Ex.

 H. “Should a major misconduct or other serious offense be committed, the early steps may be

 bypassed.” Id. “A Formal Reprimand is a severe rebuke that places the employee on probation for

 one year. A Formal Reprimand is administered when: Performance does not improve following a

 Formal Contact; Deficient performance is recognized following two or more unrelated Formal

 Contacts; There is a major misconduct or other serious offense not warranting immediate

 discharge.” Manual Subsection 2.3.A, attached as Collective Ex. H.


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        Discharge is warranted when an employee “is unwilling or unable to perform in accordance

 with plant standards” and when “performance does not improve following a Formal Reprimand or

 there is a major misconduct offense.” Manual Subsection 2.3.D, attached as Collective Ex. H. “A

 major misconduct offense is a flagrant violation of established plant rules, approved practices or

 accepted conduct that is contrary to the ability to maintain a safe, respectful, orderly, and

 productive workplace. Such actions make the employee subject to severe corrective action up to

 and including discharge.” Manual Subsection 2.4, attached as Collective Ex. H.

        “An employee believed to have committed a major misconduct offense will immediately

 be removed from the job, and not allowed to return until an investigation is completed to determine

 all the facts surrounding the incident, and a decision on a course of action based on those facts is

 made.” Id. The Manual lists out examples of major misconduct offenses including violations of

 the Vessel Entry Procedure and Line Break Procedure; failure to promptly report an on-site injury

 or a safety incident; and insubordination or deliberate refusal to comply with reasonable requests

 or instructions. Manual Subsection 2.4A, attached as Collective Ex. H.

 III.   The Fatigue Management Policy

        The purpose of the Fatigue Management Policy is to “provide guidance and define site

 systems to all personnel for understanding, recognizing, and managing process safety risks

 associated with employee mental and/or physical fatigue which may be generated by working an

 extended schedule or by other site factors such as the work environment and job tasks.” Fatigue

 Risk Management Policy p. 1, attached as Ex. C. Workplace fatigue for employees engaged in

 hazardous processes “is a risk to safe operations” and thus service limitations are necessary. Id. p.

 4.

        Under the FMP, employees are not permitted to work for more than fourteen (14)

 consecutive shifts/periods unless a formal exception has been authorized. Id. p. 5. A disability day


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 counts as a day worked under the FMP because it is assumed the employee would be off site with

 an illness and therefore probably not getting good rest. Id. p. 15.


                                     LAW AND ARGUMENT

 I.     STANDARD OF REVIEW

        Summary judgment is appropriate if no genuine issue of material fact exists and the moving

 party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477

 U.S. 317, 323 (1986). When a motion for summary judgment is made, the burden is on the non-

 moving party to set forth admissible evidence of specific facts showing that there is a genuine issue

 for trial. Anderson v. Liberty Lobby, Inc., 477 U.S., 242, 250 (1986). Issues of material fact are

 “genuine” only if they require resolution by a trier of fact. Id. at 248.

        The mere existence of some alleged factual dispute between the parties will not defeat an

 otherwise properly supported motion for summary judgment. Only disputes over facts that might

 affect the outcome of the lawsuit under governing law will preclude the entry

 of summary judgment. Id. at 247-48, 106; see also, Matsushita Elec. Indus. Co. v. Zenith Radio

 Corp., 475 U.S. 574, 587 (1986).

 II.    PLAINTIFF CANNOT ESTABLISH A PRIMA FACIE CASE OF RACE OR AGE
        DISCRIMINATION.

        Plaintiff alleges that Chemours discriminated against him because of his race and age.

 Plaintiff may establish the alleged discrimination claims by presenting either direct or

 circumstantial evidence. Hopson v. DaimlerChrysler Corp., 306 F.3d 427, 433 (6th Cir. 2002).

        Title VII's anti-discrimination provision makes it “an unlawful employment practice for an

 employer ... to discriminate against any individual with respect to his compensation, terms,

 conditions, or privileges of employment, because of such individual's race, color, religion, sex, or

 national origin.” 42 U.S.C. § 2000e–2(a)(1).


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          The Sixth Circuit has recognized that the direct evidence and circumstantial evidence paths

  are “mutually exclusive” and that a plaintiff “need only prove one or the other, not both.” Johnson

  v. Univ. of Cincinnati, 215 F.3d 561, 572 (6th Cir. 2000) (quoting Kline v. Tenn. Valley Auth., 128

  F.3d 337, 348 (6th Cir. 1997)). Direct evidence refers to “evidence which, if believed, requires

  the conclusion that unlawful discrimination was at least a motivating factor in the employer’s

  actions” and “does not require the fact finder to draw any inferences to reach that conclusion.

  Amini v. Oberlin College, 440 F.3d 350, 359 (6th Cir. Mar. 10, 2006) (quoting Kocak v. Cmty.

  Health Partners of Ohio, Inc., 400 F.3d 466, 470 (6th Cir. 2005)). “Evidence of discrimination is

  not considered direct evidence unless a racial motivation is explicitly expressed.” Id.

          In the present case, there is no direct evidence of race or age discrimination or race or age

  based animus. In the absence of direct evidence, Plaintiff’s alleged circumstantial evidence of

  discrimination claims under Title VII and §1981 should be analyzed under the McDonald

  Douglas 2 burden shifting analysis. See, e.g. Berquist v. Washington Mut. Bank, 500 F3d 344, 346

  (5th Circuit, 2007).

          If Plaintiff establishes a prima facie case, the burden shifts to Defendant to articulate a

  legitimate, nondiscriminatory reason for its actions. Amini, 440 F3d at 359. If Defendant does so,

  the burden returns to Plaintiff to show that Defendant’s stated reason was a pretext for

  discrimination. Sybrandt v. Home Depot U.S.A., Inc., 560 F.3d 553, 557-58 (6th Cir. 2009).

  Throughout this burden-shifting approach, Plaintiff bears the ultimate burden of proving, by a

  preponderance of the evidence, intentional racial discrimination. Id.

          A.      Plaintiff Cannot Establish a Prima Facie Case of Age Discrimination.

          To prove a claim for discrimination under the ADEA, Mr. Boddie must prove by a

  preponderance of the evidence that age was a determining factor in any adverse action he alleges.


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          McDonald Douglas Corp. v. Green, 411 U.S. 792 (1973).

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  Adverse actions are unlawful only when actually motivated by intentional age discrimination; the

  law does not constrain actions motivated by factors unrelated to age. The key question in summary

  judgment ADEA cases is whether a plaintiff has proof sufficient to create a genuine issue of fact

  as to whether the employer intentionally discriminated against him because of his age. Damron v.

  Yellow Freight Sys., 18 F. Supp. 2d 812, 831 (E.D. Tenn. 1998), aff'd, 188 F.3d 506 (6th Cir. 1999).

         As with his race discrimination allegations, Mr. Boddie has not presented any direct

  evidence of discrimination, and the Court must apply the burden-shifting framework adopted in

  McDonnell-Douglas to evaluate Mr. Boddie’s alleged indirect evidence.

         Thus, Mr. Boddie must show (1) he was at least 40 years old; (2) he suffered an adverse

  employment action; (3) he was qualified for the position held; and (4) he was replaced by or treated

  less favorably than a similarly situated but significantly younger person. Anderson v. Asplundh

  Tree Expert Co., Inc., 2007 WL 2746890 (M.D. Tenn. 2007); Brennan v. Tractor Supply Co., 2007

  WL 1296032 (6th Cir. 2007).

         A “person is not replaced when another employee is assigned to perform the plaintiff’s

  duties in addition to other duties, or when the work is redistributed among other existing employees

  already performing related work.” Barnes v. GenCorp., 896 F.2d 1457, 1465 (6th Cir.

  1990); accord Lilley v. BTM Corp., 958 F.2d 746, 752 (6th Cir. 1992); Anderson v. Asplundh Tree

  Expert Co., Inc., supra, at *19.

         Mr. Boddie was not replaced at all, so he cannot prove that he was replaced by a similarly

  situated but significantly younger person. He likewise has no evidence that he was treated less

  favorably than similarly situated but significantly younger person.

         Plaintiff cannot meet his burden of proof that Chemours discriminated against him based

  on his age and his claim must be dismissed.




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         B.      Plaintiff Cannot Establish a Prima Facie Case of Race Discrimination.

         To establish a prima facie case of racial discrimination, Plaintiff must show that (1) he is a

  member of a protected class; (2) he suffered an adverse employment action; (3) he was qualified

  for the position; and (4) he was treated differently than similarly situated non-protected employees.

  Evans v. Walgreen Co., 813 F.Supp.2d 897, 918 (W.D. Tenn. 2011).

         Similarly, Plaintiff cannot establish the fourth essential element of his prima facie case of

  racial discrimination. Plaintiff was not treated differently than similarly situated non-protected

  employees and his claim should be dismissed.

         C.      Plaintiff Cannot Establish a Prima Facie Case of Retaliation.

         Plaintiff’s grievances to the union regarding what he believed to be an unfair Fatigue

  Management Policy does not qualify as “protected activity” under the law. “Protected activity”

  includes only an employee's activity in opposing a practice that one of these laws makes unlawful,

  or “making a charge, testifying, assisting, or participating in any manner in” an investigation or

  proceeding under that law. Scott v. Potter, 182 Fed.Appx. 521, 524 (grievances over workplace

  safety, overtime hours, and romantic relationship not protected activity); Fox v. Eagle Distrib.

  Co.,510 F.3d 587 (6th Cir. Dec. 14, 2007)(under ADEA, activity must be specific to age, so

  complaints about paycheck shortages and other non-age activities do not qualify).

         Furthermore, Mr. Boddie’s admitted violation of safety rules dispels any inference of

  retaliation. “[A]n intervening legitimate reason to take an adverse employment action dispels an

  inference of retaliation based on temporal proximity.” James v. Tavern, 2019 WL 8013938, at *7

  (M.D. Tenn. Dec. 9, 2019) (internal quotation omitted). Any retaliatory motivation tied to

  Plaintiff’s discrimination complaint, which Chemours denies, is voided by his admitted violation

  of Company policy. See McDonald v. UAW-GM Ctr. for Human Res., 738 Fed. Appx. 848, 855-




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  56 (6th Cir. 2018) (plaintiff’s retaliation claim failed because plaintiff’s insubordination and later

  admission to the insubordination were the ‘but for’ cause of the adverse employment action).

         This Court “has repeatedly held that violations of company policies . . . are legitimate, non-

  discriminatory reasons for . . . discharging an employee.” Williams v. Graphic Packaging Int’l,

  Inc., 2018 WL 2118311 at *12 n.2 (M.D. Tenn. May 8, 2018); see also Chattman v. Toho Tenax

  Am., Inc., 686 F.3d 339, 349 (6th Cir. 2012) (violation of safety rules contained in employee

  manual held to be legitimate reason for termination); Chrzan v. ADT Sec. Servs., Inc., 2011 WL

  2601438, at *4 (M.D. Tenn. June 30, 2011) (termination for violation of written EEO Policy, for

  which plaintiff acknowledged receipt, was legitimate and nondiscriminatory).

         Plaintiff has failed to establish that he was treated differently than similarly situated non-

  protected employees, an essential element of his prima facie Title VII and §1981 race

  discrimination claims, and Chemours is therefore entitled to summary judgment as a matter of law.

  II.    PLAINTIFF CANNOT SHOW ANY EVIDENCE OF PRETEXT.

         Even if Plaintiff could establish a prima facie case of race or age discrimination, he cannot

  meet his burden of providing evidence that the legitimate, non-discriminatory reason stated by

  Chemours for why Plaintiff was terminated was pretext for employment discrimination. See, e.g.,

  Johnson v. Univ. of Cincinnati, 215 F.2d 561, 572-73 (6th Cir. 2000).

         If a prima facie case is established, the defendant has the obligation to produce a legitimate,

  non-discriminatory reason for its employment decisions. St. Mary's Honor Center v. Hicks, 509

  U.S. 502, 506-7 (1993). Once stated, the plaintiff then must prove that the reasons for any alleged

  adverse employment action offered by the employer are pretext for intentional discrimination.

  Hicks, 509 U.S. at 509. An employer satisfies its production requirement at this stage of the

  summary judgment action when it sets forth reasons for its action which, “if believed by the trier




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  of fact would support a finding that unlawful discrimination was not the cause of the employment

  action.” Hicks, 509 U.S. at 506-7.

         Plaintiff may establish pretext by showing: (1) that the proffered reasons had no basis in

  fact; (2) that the proffered reasons did not actually motivate the employer’s action; or (3) the

  proffered reasons were insufficient to motivate the employer’s action. See id. (citing Manzer v.

  Diamond Shamrock Chems. Co., 29 F.3d 1078, 1084 (6th Cir. 1994)).

         The first showing “consists of evidence that the proffered bases for the plaintiff’s adverse

  employment action never happened.” Manzer, 29 F.3d at 1084. Under the second showing, a

  plaintiff “attempts to indict the credibility of his employer’s explanation by showing circumstances

  which tend to prove that an illegal motivation was more likely than that offered by the defendant.”

  Id. “A reason cannot be pretext for retaliation [or discrimination] unless it is shown both that the

  reason was false and that retaliation was the real reason.” Travers v. Cellco P’ship, 2013 WL

  6048177, at *3 (M.D. Tenn. Nov. 14, 2013); Seeger v. Cincinnati Bell Tel. Co., LLC, 681 F.3d

  274, 285 (6th Cir. 2012).

         To evaluate whether a plaintiff has created a genuine issue of material fact that a

  defendant’s proffered reason is pretext, courts should examine “the evidence the plaintiff produces

  to establish a prima facie case, evidence discrediting the defendant’s proffered reason, as well as

  any additional evidence that the plaintiff chooses to put forth.” Blair v. Henry Filters, Inc., 505

  F.3d 517, 531 (6th Cir. 2007). The Court notes that evidence produced to support the prima facie

  case may, but will not necessarily, suffice to show a genuine issue of material fact concerning

  pretext. Blair, 505 F.3d at 533.

         Chemours has articulated a legitimate, non-discriminatory business reason for its decision

  to terminate Plaintiff’s employment. As discussed above, Plaintiff’s repeated failure to follow

  safety rules in a chemical plant endangers other employees and the community and cannot be


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  tolerated. If Plaintiff’s allegation that he was splashed with a chemical is taken as true, as it must

  be at this stage, his failure to report this incident or to follow well established decontamination

  procedures is a serious violation of Chemours’ safety policy, and Chemours had immediate

  grounds to terminate his employment. Even if he was not splashed with an unknown liquid, Mr.

  Boddie repeatedly refused to comply with the Fatigue Management Policy, which is a safety policy

  intended to prevent mistakes at a chemical plant, and repeatedly refused to follow simple policies

  and instructions from his supervisor. He was already on probation and left his work area early

  without being relieved by another employee or informing anyone, potentially leaving the area

  understaffed and creating the potential for safety problems. He also was not where he was

  supposed to be while his supervisor was looking for him to assign overtime shifts, making it

  difficult for management to adequately and safely staff the next shift. Mr. Boddie has worked at

  the plant for 39 years and had been engaged in the grievance process for four different grievances

  during just the year leading up to his termination. He was well-versed in Defendants’ policies,

  and his repeated refusal to follow them, particularly while already on probation, was a legitimate,

  non-discriminatory business reason to terminate his employment.

         The Plaintiff has failed to come forward with any evidence to show that Chemours’

  decision to terminate him was a pretext to mask intentional discrimination. Chemours is entitled

  to a judgment dismissing Plaintiff’s claims of discrimination and retaliation.

  III.   CHEMOURS IS ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFF’S
         PUNITIVE DAMAGES CLAIM.

         In Title VII cases, punitive damages are limited “to cases in which the employer has

  engaged in intentional discrimination and has done so with malice or with reckless indifference to

  the federally protected rights of an aggrieved individual.” Kolstad v. Am. Dental Ass’n, 527 U.S.

  526, 529 (1999) (citing 42 U.S.C. § 1981A(b)(1)). In determining whether punitive damages are



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  appropriate, courts look not to the allegedly discriminatory behavior of low-level employees, but

  only to persons who are “managerial agents.” Id.; see EEOC v. New Breed Logistics, 962 F. Supp.

  2d 1001, 1020 (W.D. Tenn. 2013), aff’d, 783 F.3d 1057 (6th Cir. 2015) (“A jury may impute

  malice or reckless indifference to an employer when the harasser is an individual acting in a

  managerial capacity within the scope of employment.”). To be considered a “managerial agent,”

  the employee “must have unilateral authority to hire, fire, demote, transfer, discipline, or alter

  compensation” and be of “sufficient statute and authority to have some control and discretion and

  independent judgment over a certain area of the business with some power . . . to set policy for the

  company.” Id.

         Here, Plaintiff has produced no evidence that Chemours engaged in intentional

  discrimination with malice or reckless indifference to Plaintiff’s rights. Furthermore, Plaintiff has

  failed to demonstrate that Chemours discriminated against him at all, much less with the requisite

  malice or reckless indifference that would be required to recover punitive damages. Plaintiff is

  not entitled to punitive damages and his claim should be dismissed as a matter of law.

                                            CONCLUSION

         Plaintiff cannot prove that Chemours discriminated or retaliated against him due to his race

  or age. Chemours’ concern for the safety of its employees and the community is a legitimate

  business reason for its decision to terminate Mr. Boddie’s employment, and he has no evidence

  that the stated reason for the decision was pretext for racial or age-based animus.

         Finally, even if Plaintiff could prove discrimination, which he cannot, Plaintiff cannot

  prove any elements necessary to recover punitive damages.

         Defendant respectfully requests that this Court grant its Motion for Summary Judgment

  and dismiss Plaintiff’s claims in their entirety with prejudice.




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                                                Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the foregoing was filed and served upon the
  following via the Court’s electronic filing system (ECF) on this the 15th day of March, 2022.

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